                    Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 1 of 40


 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Open Court Sports Complex, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      9      –      2      9        3    6         4   5     3

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       1808 Woodcreek Bend Lane
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Katy                                TX       77494
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Fort Bend                                                       from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                    Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 2 of 40


Debtor Open Court Sports Complex, LLC                                                     Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             7      1      3      9

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor Open Court Sports Complex, LLC                                                     Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY

                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 4 of 40


Debtor Open Court Sports Complex, LLC                                             Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?
                                                                        Number      Street




                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency

                                                        Contact name

                                                        Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                         25,001-50,000
    creditors                         50-99                             5,001-10,000                        50,001-100,000
                                      100-199                           10,001-25,000                       More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
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Debtor Open Court Sports Complex, LLC                                                    Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 07/28/2023
                                                      MM / DD / YYYY



                                          X /s/ Angela Smith-Duncan
                                              Signature of authorized representative of debtor
                                              Angela Smith-Duncan
                                              Printed name
                                              Manager
                                              Title

18. Signature of attorney                X /s/ Kimberly A. Bartley                                                Date   07/28/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Kimberly A. Bartley
                                            Printed name
                                            Waldron & Schneider, l.l.P.
                                            Firm name
                                            15150 Middlebrook Drive
                                            Number          Street



                                            Houston                                                    TX                 77058
                                            City                                                       State              ZIP Code


                                            (281) 488-4438                                             kbartley@ws-law.com
                                            Contact phone                                              Email address
                                            24032114                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
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 Fill in this information to identify the case
 Debtor name          Open Court Sports Complex, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Chase Bank Checking account                                   Checking account                    5   6   3     5                   $2,672.11
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $2,672.11


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor       Open Court Sports Complex, LLC                                               Case number (if known)
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                  –                                        = .......................
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                                     –                                        = .......................
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       Open Court Sports Complex, LLC                                            Case number (if known)
             Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

     Cafe/snack items.                                                                                                         $300.00
22. Other inventory or supplies

23. Total of Part 5
                                                                                                                               $300.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                  $0.00

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       Open Court Sports Complex, LLC                                             Case number (if known)
             Name

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

     Office Furniture and Fixtures - see attached
     "Exhibit B - Personal Property"                                                                                        $28,514.62
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Computers                                                                                                              $35,686.12
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                            $64,200.74

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     Sports equipment fixed assets - see attached
     "Exhibit B - Personal Property"                                                                                      $211,625.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
                  Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 10 of 40


Debtor       Open Court Sports Complex, LLC                                              Case number (if known)
             Name

      Sports equipment- see attached "Exhibit B -
      Personal Property                                                                                                             $16,329.11
      Court Flooring (removable)                                                                                                  $229,535.00
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                  $457,489.11

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 1808 Woodcreek Bend Lane, Katy,
       TX 77494                                      Owner                                         Appraisal 2023               $7,750,000.00
56. Total of Part 9.
                                                                                                                                $7,750,000.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
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Debtor       Open Court Sports Complex, LLC                                              Case number (if known)
             Name

     Domain Names
     opencourtsportscomplex.com
     ocsckaty.com
     txrattlers1.com
     txindominus.com
     txrampage.com                                                                                                                 $0.00
62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

     Customer Lists                                                                                                           Unknown
64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                   $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                   Current value of
                                                                                                                   debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

     NEXO Insurance Services - Property Insurance
     Policy IMP 00                                                                                                                 $0.00
     NSM Insurance Group - Commercial Property and General Liability
     Policy # 5075-7522-00                                                                                                         $0.00
74. Causes of action against third parties (whether or not a lawsuit has been filed)




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                     page 6
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Debtor           Open Court Sports Complex, LLC                                                                      Case number (if known)
                 Name

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

      First Aid Medical supplies                                                                                                                               $6,912.07
      Consolidated Internet - Phone Lease                                                                                                                            $0.00
      Lessee Direct - Copier/Scanner                                                                                                                                 $0.00
      Mobilel Mini Storage Unit                                                                                                                                      $0.00
      NES - Phone - Internet connection (not using)                                                                                                                  $0.00
      Canteen Vending - Vending Machines                                                                                                                             $0.00
78. Total of Part 11.
                                                                                                                                                               $6,912.07
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                              $2,672.11
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                             $300.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                               $64,200.74
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                    $457,489.11
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................      $7,750,000.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +            $6,912.07

91. Total. Add lines 80 through 90 for each column.                        91a.            $531,574.03           + 91b.             $7,750,000.00


                                                                                                                                                                $8,281,574.03
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................



Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                        page 7
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 Fill in this information to identify the case:
 Debtor name          Open Court Sports Complex, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Capital CDC 504 - SBA                            subject to a lien                                 $1,927,413.41               $8,051,739.03

          Creditor's mailing address                       Real Property and Personal Property
          PO Box 3918                                      Describe the lien
                                                           Loan
                                                           Is the creditor an insider or related party?
          Portland                   OR   97205-3918            No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.
For 1808 Woodcreek Bend Lane, Katy, TX 77494: 1) Resolution Finance Property Tax; 2) Capital CDC 504 - SBA; 3) Capital
CDC 7A- SBA; 4) Susser Bank - 504; 5) Susser Bank - 7A. For Chase Bank Checking account: 1) Capital CDC 504 - SBA; 2)
Capital CDC 7A- SBA; 3) Susser Bank - 504; 4) Susser Bank - 7A; 5) Expansion Capital. For Office Furniture and Fixtures -
see attached "Exhibit B - Pe: 1) Capital CDC 504 - SBA; 2) Capital CDC 7A- SBA; 3) Susser Bank - 504; 4) Susser Bank - 7A; 5)
Expansion Capital. For Computers : 1) Capital CDC 504 - SBA; 2) Capital CDC 7A- SBA; 3) Susser Bank - 504; 4) Susser Bank
- 7A; 5) Expansion Capital. For First Aid Medical supplies: 1) Capital CDC 504 - SBA; 2) Capital CDC 7A- SBA; 3) Susser Bank -
504; 4) Susser Bank - 7A; 5) Expansion Capital. For Sports equipment fixed assets - see attached "Exhibit B - Pe: 1) Capital
CDC 504 - SBA; 2) Capital CDC 7A- SBA; 3) Susser Bank - 504; 4) Susser Bank - 7A; 5) Expansion Capital. For Sports
equipment- see attached "Exhibit B - Personal Propert: 1) Capital CDC 504 - SBA; 2) Capital CDC 7A- SBA; 3) Susser Bank -
504; 4) Susser Bank - 7A; 5) Expansion Capital.
UCC 1




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $5,571,237.90


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                             page 1
                  Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 14 of 40


Debtor       Open Court Sports Complex, LLC                                                  Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Capital CDC 7A- SBA                                 subject to a lien                                    $122,868.00           $8,051,739.03

         Creditor's mailing address                          Real Property and Personal Property
         PO Box 3918                                         Describe the lien
                                                             Loan
                                                             Is the creditor an insider or related party?
         Portland                   OR    97205-3918              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1

UCC 1

 2.3     Creditor's name                                     Describe debtor's property that is
         Expansion Capital                                   subject to a lien                                     $53,070.00             $301,739.03

         Creditor's mailing address                          All Personal Property
         5801 S Corporate Place                              Describe the lien
                                                             Working Capital
                                                             Is the creditor an insider or related party?
         Sioux Falls                SD    57108                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1

UCC 1




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
                    Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 15 of 40


Debtor       Open Court Sports Complex, LLC                                                    Case number (if known)

 Part 1:       Additional Page                                                                                 Column A               Column B
                                                                                                               Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                      Do not deduct the      that supports
sequentially from the previous page.                                                                           value of collateral.   this claim

 2.4     Creditor's name                                       Describe debtor's property that is
         Resolution Finance Property Tax                       subject to a lien                                    $155,483.94           $7,750,000.00

         Creditor's mailing address                            Real Property
         4100 Alpha Rd, Ste 670                                Describe the lien
                                                               Loan
                                                               Is the creditor an insider or related party?
         Dallas                     TX      75244                   No
                                                                    Yes
         Creditor's email address, if known
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                    No
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                        Contingent
             No                                                    Unliquidated
             Yes. Have you already specified the                   Disputed
                  relative priority?
                  No. Specify each creditor, including this
                  creditor, and its relative priority.
                  Yes. The relative priority of creditors is
                  specified on lines 2.1

 2.5     Creditor's name                                       Describe debtor's property that is
         Susser Bank - 504                                     subject to a lien                                 $2,988,548.57            $8,051,739.03

         Creditor's mailing address                            Real Property and Personal Property
         fka Affiliated Bank                                   Describe the lien
         3030 Matlock Rd, Ste 205                              Loan
                                                               Is the creditor an insider or related party?
         Arlington                  TX      76015                   No
                                                                    Yes
         Creditor's email address, if known
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                    No
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                        Contingent
             No                                                    Unliquidated
             Yes. Have you already specified the                   Disputed
                  relative priority?
                  No. Specify each creditor, including this
                  creditor, and its relative priority.
                  Yes. The relative priority of creditors is
                  specified on lines 2.1

UCC 1
Subordination Agreement to Capital CDC regarding Real Estate




Official Form 206D               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
                  Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 16 of 40


Debtor       Open Court Sports Complex, LLC                                                  Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.6     Creditor's name                                     Describe debtor's property that is
         Susser Bank - 7A                                    subject to a lien                                    $323,853.98           $8,051,739.03

         Creditor's mailing address                          Real Property and Personal Property
         fka Affiliated Bank                                 Describe the lien
         3030 Matlock Rd, Ste 205                            Loan
                                                             Is the creditor an insider or related party?
         Arlington                  TX    76015                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1

UCC 1




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
                   Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 17 of 40


Debtor       Open Court Sports Complex, LLC                                            Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         Michael P Menton                                                              Line    2.5
         SettlePou
         3333 Lee Pkwy, 8th Fl


         Dallas                                       TX       75219


         Small Business Administration                                                 Line    2.2
         1545 Hawkins Blvd, Ste 202



         El Paso                                      TX       79925


         Small Business Administration                                                 Line    2.1
         1545 Hawkins Blvd, Ste 202




         El Paso                                      TX       79925




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 5
                   Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 18 of 40


 Fill in this information to identify the case:
 Debtor              Open Court Sports Complex, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the                    $0.00              $0.00
                                                                claim is: Check all that apply.
Fort Bend County Tax Assessor-Collector
                                                                    Contingent
Marsha P. Gaines                                                    Unliquidated
P.O. Box 1028                                                       Disputed

                                                                Basis for the claim:
Sugar Land                            TX      77487-1028        Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                  Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 19 of 40


Debtor        Open Court Sports Complex, LLC                                           Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $2,242.62
                                                                   Check all that apply.
Lincoln Capital                                                        Contingent
c/o Elaine Pendleton Sr Acct                                           Unliquidated
                                                                       Disputed
16415 Addison Rd, Ste 850
                                                                   Basis for the claim:
Addison                                  TX       75001            Business

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $79,900.00
                                                                   Check all that apply.
Longhorn Builders                                                      Contingent
21931 Kobs Rd, Ste 100                                                 Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Tomball                                  TX       77377            Goods & Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $55,139.49
                                                                   Check all that apply.
OnDeck Capital, LLC                                                    Contingent
c/o Beathan Regan                                                      Unliquidated
                                                                       Disputed
Zwicker & Assoc
80 Minuteman Road                                                  Basis for the claim:
Andover                                  MA       01810            Working Capital

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          6    8    9   5                Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $500,000.00
                                                                   Check all that apply.
Small Business Administration                                          Contingent
10737 Gateway West, Ste. 300                                           Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
El Paso                                  TX       79935            Covid-19/EIDL

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor      Open Court Sports Complex, LLC                                    Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                  Total of claim amounts

5a. Total claims from Part 1                                                              5a.                     $0.00

5b. Total claims from Part 2                                                              5b. +            $637,282.11


5c. Total of Parts 1 and 2                                                                5c.              $637,282.11
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                 page 3
                  Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 21 of 40


 Fill in this information to identify the case:
 Debtor name         Open Court Sports Complex, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                  Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Vending Machines                                Canteen Vending
          or lease is for and the       Contract to be ASSUMED                          2747 W Grand Parkway N
          nature of the debtor's
          interest                                                                      Ste D

          State the term remaining
          List the contract
                                                                                       Katy                                TX            77449
          number of any
          government contract

2.2       State what the contract       Phone Lease                                     Consolidated Communications
          or lease is for and the       Contract to be ASSUMED                          1400 Avenue A
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                       Katy                                TX            77493
          number of any
          government contract

2.3       State what the contract       Copier/Scanner                                  Lesee Direct
          or lease is for and the       Contract to be ASSUMED                          5000 Johnston Dr.
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Johnston                            IA            50131
          government contract

2.4       State what the contract       Storage Unit                                    Mobile Mini Storage
          or lease is for and the       Contract to be ASSUMED                          4646 E Van Buren Ste
          nature of the debtor's
          interest                                                                      Ste 400

          State the term remaining
          List the contract
          number of any
                                                                                       Phoenix                             AZ            85008
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                  Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 22 of 40


Debtor       Open Court Sports Complex, LLC                                       Case number (if known)



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      Phone - Internet connection              NEC Financial Services
          or lease is for and the      Contract to be REJECTED                  250 Pehle Ave
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                Saddle Brook                    NJ        07663
          number of any
          government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                     page 2
                   Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 23 of 40


 Fill in this information to identify the case:
 Debtor name         Open Court Sports Complex, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Andrew and Angela               1808 Woodcreek Bend Lane                               Capital CDC 504 - SBA                 D
       Duncan                          Number      Street                                                                           E/F
                                                                                                                                    G

                                       Katy                           TX      77494
                                       City                           State   ZIP Code


2.2    Andrew and Angela               1808 Woodcreek Bend Lane                               Capital CDC 7A- SBA                   D
       Duncan                          Number      Street                                                                           E/F
                                                                                                                                    G

                                       Katy                           TX      77494
                                       City                           State   ZIP Code


2.3    Andrew and Angela               1808 Woodcreek Bend Lane                               Susser Bank - 504                     D
       Duncan                          Number      Street                                                                           E/F
                                                                                                                                    G

                                       Katy                           TX      77494
                                       City                           State   ZIP Code


2.4    Andrew and Angela               1808 Woodcreek Bend Lane                               Susser Bank - 7A                      D
       Duncan                          Number      Street                                                                           E/F
                                                                                                                                    G

                                       Katy                           TX      77494
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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 Fill in this information to identify the case:


 Debtor Name Open Court Sports Complex, LLC

 United States Bankruptcy Court for the:                   SOUTHERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                 $7,750,000.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $531,574.03
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                 $8,281,574.03
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                    $5,571,237.90
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +            $637,282.11
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $6,208,520.01




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Open Court Sports Complex, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 07/28/2023                       X /s/ Angela Smith-Duncan
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Angela Smith-Duncan
                                                              Printed name
                                                              Manager
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 23-32826 Document 1 Filed in TXSB on 07/28/23 Page 26 of 40


 Fill in this information to identify the case:
 Debtor name         Open Court Sports Complex, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2023      to   Filing date
fiscal year to filing date:                                                        Other                                              $241,146.29
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2022      to    12/31/2022
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $564,500.80

                                                                                   Operating a business
For the year before that:        From    01/01/2021      to    12/31/2021
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $501,278.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                             Dates            Total amount or value      Reasons for payment or transfer
                                                                                                          Check all that apply
3.1. Capital CDC 504 - SBA                                    1st of                $14,853.71               Secured debt
      Creditor's name                                         month
      PO Box 3918                                                                                            Unsecured loan repayments
                                                              5th of
      Street                                                                                                 Suppliers or vendors
                                                              month
                                                                                                             Services
      Portland                        OR      97205-3918                                                     Other
      City                            State   ZIP Code




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor         Open Court Sports Complex, LLC                                                Case number (if known)
               Name

      Creditor's name and address                                  Dates            Total amount or value        Reasons for payment or transfer
                                                                                                                 Check all that apply
3.2. Susser Bank - 504                                             1st of the             $23,151.77                 Secured debt
      Creditor's name                                              month x 2
      3030 Matlock Rd, Ste 205                                                                                       Unsecured loan repayments
      Street                                                                                                         Suppliers or vendors
                                                                                                                     Services
      Arlington                         TX       76015                                                               Other
      City                              State    ZIP Code

      Creditor's name and address                                  Dates            Total amount or value        Reasons for payment or transfer
                                                                                                                 Check all that apply
3.3. Resolution Finance Property Tax                               15th of                 $2,140.00                 Secured debt
      Creditor's name                                              month
      4100 Alpha Rd, Ste 670                                                                                         Unsecured loan repayments
      Street                                                                                                         Suppliers or vendors
                                                                                                                     Services
      Dallas                            TX       75244                                                               Other
      City                              State    ZIP Code

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None




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Debtor          Open Court Sports Complex, LLC                                             Case number (if known)
                Name

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe any property              Dates               Total amount
                                                               transferred                                                          or value
 11.1. Waldron & Schneider, PLLC                                                                                07/07/23               $30,000.00

         Address

         15150 Middlebrook Drive
         Street


         Houston                     TX       77058
         City                        State    ZIP Code

         Email or website address



         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None




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Debtor        Open Court Sports Complex, LLC                                               Case number (if known)
              Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

         None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained
                Names and Addresses
                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:




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Debtor          Open Court Sports Complex, LLC                                              Case number (if known)
                Name


  Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

          None

         Financial institution name and address             Last 4 digits of              Type of account        Date account         Last balance
                                                            account number                                       was closed,          before closing
                                                                                                                 sold, moved,         or transfer
                                                                                                                 or transferred
 18.1. Navy Federal Credit Union
         Name
                                                            XXXX- 4       5    4    7          Checking                7-2023               $23.38
                                                                                               Savings
         Street
                                                                                               Money market
                                                                                               Brokerage
                                                                                               Other

         City                      State     ZIP Code

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

          None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

          None

  Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


          None

Owner's name and address                           Location of the property                     Description of the property         Value

Texas Twisters Volleyball Club                                                                  Volleyball Equipment
Name


Street




City                      State   ZIP Code




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Debtor       Open Court Sports Complex, LLC                                                 Case number (if known)
             Name


 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

                Name and address                                                                     Dates of service

      26a.1. Pam Brightman CPA                                                                       From        2019          To     current
                Name
                Gray & Brightman CPAs, PLLC
                Street
                23537 Kingsland Blvd, Ste 123
                Katy                                           TX          77494
                City                                           State       ZIP Code




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Debtor           Open Court Sports Complex, LLC                                                 Case number (if known)
                 Name

     26b.       List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
                statement within 2 years before filing this case.

                    None

     26c.       List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                    None

     26d.       List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
                financial statement within 2 years before filing this case.

                    None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

         Name of the person who supervised the taking of the inventory                                  Date of           The dollar amount and basis
                                                                                                        inventory         (cost, market, or other basis)
                                                                                                                          of each inventory

         Angela Duncan                                                                                    June 2023

         Name and address of the person who has possession of inventory records

 27.1.
         Name

         Street




         City                                                     State       ZIP Code

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                         Address                                      Position and nature of any interest         % of interest, if any

Angela Smith-Duncan                          4715 Middlewood Manor Lane                   Manager / Member                                     51%
                                             Katy, TX 77494
Andrew Duncan, Sr.                           4715 Middlewood Manor Lane                   Manager / Member                                     39%
                                             Katy, TX 77494
Gina Decurtis-Gorman                         700 Clayton Street                           Member                                               15%
                                             Tomball, TX 77375
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                         Address                                      Position and nature of        Period during which position
                                                                                          any interest                  or interest was held




Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
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Debtor        Open Court Sports Complex, LLC                                              Case number (if known)
              Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 07/28/2023
            MM / DD / YYYY



X /s/ Angela Smith-Duncan                                                          Printed name Angela Smith-Duncan
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                  HOUSTON DIVISION
In re Open Court Sports Complex, LLC                                                                                                Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                Fixed Fee:                    $30,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $30,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   07/28/2023                         /s/ Kimberly A. Bartley
                      Date                            Kimberly A. Bartley                        Bar No. 24032114
                                                      Waldron & Schneider, l.l.P.
                                                      15150 Middlebrook Drive
                                                      Houston, TX 77058
                                                      Phone: (281) 488-4438 / Fax: (281) 488-4597




   /s/ Angela Smith-Duncan
   Angela Smith-Duncan
   Manager
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 Fill in this information to identify the case:
 Debtor name         Open Court Sports Complex, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Small Business                                     Covid-19/EIDL                                                            $500,000.00
    Administration
    10737 Gateway West,
    Ste. 300
    El Paso, TX 79935

2   Longhorn Builders                                  Goods & Services                                                           $79,900.00
    21931 Kobs Rd, Ste 100
    Tomball, TX 77377




3   OnDeck Capital, LLC                                Working Capital                                                            $55,139.49
    c/o Beathan Regan
    Zwicker & Assoc
    80 Minuteman Road
    Andover, MA 01810

4   Lincoln Capital                                    Business                                                                    $2,242.62
    c/o Elaine Pendleton Sr
    Acct
    16415 Addison Rd, Ste
    850
    Addison, TX 75001
5   Fort Bend County Tax                               Taxes                                                                            $0.00
    Assessor-Collector
    Marsha P. Gaines
    P.O. Box 1028
    Sugar Land, TX 77487-
    1028




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 1
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   Open Court Sports Complex, LLC                                         CASE NO

                                                                                 CHAPTER      11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/28/2023                                          Signature   /s/ Angela Smith-Duncan
                                                                    Angela Smith-Duncan
                                                                    Manager




Date                                                    Signature
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                  Andrew and Angela Duncan
                  1808 Woodcreek Bend Lane
                  Katy, Texas 77494



                  Canteen Vending
                  2747 W Grand Parkway N
                  Ste D
                  Katy, TX 77449


                  Capital CDC 504 - SBA
                  PO Box 3918
                  Portland, OR 97205-3918



                  Capital CDC 7A- SBA
                  PO Box 3918
                  Portland, OR 97205-3918



                  Consolidated Communications
                  1400 Avenue A
                  Katy, TX 77493



                  Expansion Capital
                  5801 S Corporate Place
                  Sioux Falls, SD 57108



                  Fort Bend County Tax Assessor-Collector
                  Marsha P. Gaines
                  P.O. Box 1028
                  Sugar Land, TX 77487-1028


                  Lesee Direct
                  5000 Johnston Dr.
                  Johnston, IA 50131



                  Lincoln Capital
                  c/o Elaine Pendleton Sr Acct
                  16415 Addison Rd, Ste 850
                  Addison, TX 75001


                  Longhorn Builders
                  21931 Kobs Rd, Ste 100
                  Tomball, TX 77377
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                  Michael P Menton
                  SettlePou
                  3333 Lee Pkwy, 8th Fl
                  Dallas, TX 75219


                  Mobile Mini Storage
                  4646 E Van Buren Ste
                  Ste 400
                  Phoenix, AZ 85008


                  NEC Financial Services
                  250 Pehle Ave
                  Saddle Brook, NJ 07663



                  OnDeck Capital, LLC
                  c/o Beathan Regan
                  Zwicker & Assoc
                  80 Minuteman Road
                  Andover, MA 01810

                  Resolution Finance Property Tax
                  4100 Alpha Rd, Ste 670
                  Dallas, TX 75244



                  Small Business Administration
                  10737 Gateway West, Ste. 300
                  El Paso, TX 79935



                  Small Business Administration
                  1545 Hawkins Blvd, Ste 202
                  El Paso, TX 79925



                  Susser Bank - 504
                  fka Affiliated Bank
                  3030 Matlock Rd, Ste 205
                  Arlington, TX 76015


                  Susser Bank - 7A
                  fka Affiliated Bank
                  3030 Matlock Rd, Ste 205
                  Arlington, TX 76015
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                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
    IN RE:                                                                         CHAPTER       11
    Open Court Sports Complex, LLC



    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered


                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                         Manager                           of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       7/28/2023
Date:__________________________________                            /s/ Angela Smith-Duncan
                                                        Signature:________________________________________________________
                                                                   Angela Smith-Duncan
                                                                   Manager
